993 F.2d 1535
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Phillip Charles BROWN, Plaintiff-Appellant,v.BALTIMORE SUN PAPER COMPANY;  Michael J. Davies, Publisher,Defendants-Appellees.
    No. 93-6226.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  June 4, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  M. J. Garbis, District Judge.  (CA-93-187-MJG)
      Phillip Charles Brown, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Phillip Charles Brown appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Brown v. Baltimore Sun Paper Co., No. CA-93-187-MJG (D. Md. Feb. 2, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We hereby deny Brown's motion for judicial relief
      
    
    